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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
                              www.flmb.uscourts.gov

In re:                         )                       Chapter 7
                               )
DON KARL JURAVIN,              )                       Case No. 6:18-bk-6821-KSJ
                               )
      Debtor.                  )                       Case No. 6:20-bk-1801-KSJ
______________________________ )
                               )                       Jointly Administered with
DON KARL JURAVIN               )                       Case No. 6:18-bk-6821-KSJ
Case No. 6:18-bk-6821-KSJ      )
                               )
      Applicable Debtor.       )
______________________________ )

              STATEMENT PURSUANT TO RULE 1019(5)(A)(i)
         OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         The Debtor, Don Karl Juravin, by and through undersigned counsel, and

pursuant to F.R.B.P. 1019(5)(A)(i), hereby files this schedule of unpaid debts

incurred after the filing of the petition and before conversion of the case, and further

states as follows:

         1.     The following is a schedule of unpaid debts incurred after the filing of

the petition and before conversion of the case, including the name and address of

each holder of a claim:

                a.    American Express
                      P.O. Box 981535
                      El Paso, TX 79998
          Case 6:18-bk-06821-KSJ     Doc 457   Filed 03/19/21   Page 2 of 5




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served

via CM/ECF or United States Mail, first class and postage prepaid, on all parties in

interest listed on the attached Mailing Matrix, this 19th day of March, 2021.

                                       __/s/ Aldo G. Bartolone, Jr.______
                                       ALDO G. BARTOLONE, JR.
                                       Florida Bar No. 173134
                                       BARTOLONE LAW, PLLC
                                       1030 N. Orange Ave., Suite 300
                                       Orlando, Florida 32801
                                       Telephone: (407) 294-4440
                                       Facsimile: (407) 287-5544
                                       E-mail: aldo@bartolonelaw.com
                                       Attorney for Don Karl Juravin
                                Case 6:18-bk-06821-KSJ      Doc 457          Filed 03/19/21   Page 3 of 5
Label Matrix for local noticing               American Express National Bank                   Bella Collina Property Owner’s Associat
113A-6                                        c/o Becket and Lee LLP                           c/o Becker & Poliakoff
Case 6:18-bk-06821-KSJ                        PO Box 3001                                      100 Whetstone Place
Middle District of Florida                    Malvern, PA 19355-0701                           Suite 302
Orlando                                                                                        Saint Augustine, FL 32086-5775
Fri Mar 19 16:48:54 EDT 2021
Ben-Zvi Law Firm                              DCS Real Estate Investments, LLC                 (p)FEDERAL TRADE COMMISSION
23 Bar-Cochva                                 636 U.S. Hwhy One                                ASSOCIATE DIRECTOR
Bnei-Brak, Israel                             Suite 100                                        DIVISION OF ENFORCEMENT
                                              North Palm Beach, FL 33408-4611                  600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122
                                                                                               WASHINGTON DC 20580-0001

Mercedes-Benz Financial Services USA LLC      (c)NATURAL VITAMINS LABORATORY CORPORATION       Wilmington Financial Services, LLC
c/o Ed Gezel                                  12845 NW 45TH AVE                                c/o David M. Landis, Esq.
Bk Servicing, LLC                             OPA LOCKA FL 33054-5119                          Mateer & Harbert, P.A.
PO Box 131265                                                                                  P O Box 2854
Roseville, MN 55113-0011                                                                       Orlando, FL 32802-2854

Yip Associates                                Zuckerman & Co.                                  Anna Juravin
One Biscayne Tower                            Ea Yarkon St 113                                 15118 Pendio Drive
2 S. Biscayne Boulevard                       Tel Aviv Israel                                  Montverde, FL 34756-3606
Suite 2690
Miami, FL 33131-1815

Anna Juravin                                  Bella Collina Property Owner’s Associat          Bella Collina Property Owners Assoc Inc.
Ralph Strzalkowski & Amber Robinson           c/o William C. Matthews, Esq.                    c/o Aegis Community Mgmt Solutions, Inc.
695 Central Ave Ste. 264                      Shutts & Bowen LLP                               8390 Championsgate Blvd., Suite 304
St. Petersburg, FL 33701-3669                 300 S. Orange Avenue, Suite 1600                 Championsgate, FL 33896-8313
                                              Orlando, FL 32801-3382

Carl H. Settlemyer, III, Esq.                 Citibank, N.A.                                   Consumer Opinion Corp.
Federal Trade Commission                      701 East 60th Street North                       c/o Randazza Legal Group
600 Pennsylvania Avenue NW                    Sioux Falls, SD 57104-0493                       2764 Lake Sahara Drive, Suite 109
Mail Drop CC-10528                                                                             Las Vegas, NV 89117-3400
Washington, DC 20580-0001

DCS Real Estate Investments, LLC              Dr. Free                                         FLORIDA RIGHTS LAW FIRM OBO ANNA JURAVIN
c/o David M. Landis, Esq.                     11 Walnut Street, #12350                         695 CENTRAL AVE STE 264
PO Box 2854                                   Green Cove Springs, FL 32043                     ST PETE FL 33701
Orlando, FL 32802-2854                                                                         AROBINSON@AROBINSONLAWFIRM.COM
                                                                                               RS@LAWYERONWHEELS.ORG 33701-3669

Florida Department of Revenue                 Internal Revenue Service                         Internal Revenue Service
Bankruptcy Unit                               Centralized Insolvency Operation                 PO Box 7346
Post Office Box 6668                          Post Office Box 7346                             Philadelphia, PA 19101-7346
Tallahassee FL 32314-6668                     Philadelphia, PA 19101-7346


Julia Kalatusha                               Juvarin, Inc.                                    Karan Arora
32 Borochov                                   P. O. Box 560510                                 12815 NW 45th Avenue
Tel Aviv, Israel                              Montverde, FL 34756-0510                         Opa Locka, FL 33054-5100



Karan Arora                                   Lake County Tax Collector                        Mercedes-Benz Financial
c/o Michael A. Nardella, Esq.                 Attn: Bob McKee                                  P. O. Box 961
Nardella & Nardella, PLLC                     Post Office Box 327                              Roanoke, TX 76262-0961
135 W. Central Blvd., Suite 300               Tavares FL 32778-0327
Orlando, FL 32801-2435
                                Case 6:18-bk-06821-KSJ             Doc 457          Filed 03/19/21      Page 4 of 5
Mercedes-Benz Financial Services USA LLC             Mercedez-Benz Financial                              Must Cure Obesity Co.
c/o BK Servicing, LLC                                PO Box 961                                           15118 Pendio Drive
PO Box 131265                                        Roanoke, TX 76262-0961                               Montverde, FL 34756-3606
Roseville, MN 55113-0011


Noam Ben Zvi                                         Opinion Corp.                                        PSR Developers, LLLP
10/93 Rishon Lezion Street                           c/o Randazza Legal Group                             3900 Centennial Drive
Petachtiachba, Israel                                2764 Lake Sahara Drive, Suite 109                    Suite C
                                                     Las Vegas, NV 89117-3400                             Midland, MI 48642-5996


Paul B. Spelman, Esq.                                Secretary of the Treasury                            Shay Zuckerman
Federal Trade Commission                             15th & Pennsylvania Ave., NW                         8 Babli Street
600 Pennsylvania Avenue NW                           Washington, DC 20220-0001                            Tel Aviv, Israel
Mail Drop CC-10528
Washington, DC 20580-0001

U.S. Securities and Exchange Commission              United States Attorney                               United States Trustee - ORL7/13
Office of Reorganization                             300 North Hogan St Suite 700                         Office of the United States Trustee
950 East Paces Ferry Road, N.E.                      Jacksonville, FL 32202-4204                          George C Young Federal Building
Suite 900                                                                                                 400 West Washington Street, Suite 1100
Atlanta, GA 30326-1382                                                                                    Orlando, FL 32801-2210

Zachary Lake                                         Zuckerman & Co.                                      Aldo G Bartolone Jr
c/o Hammer Law Offices, APLC                         c/o Shay Zuckerman                                   Bartolone Law, PLLC
26565 West Agoura Road, Suite 200-197                HaYarkon St. 113                                     1030 North Orange Avenue, Suite 300
Calabasas, CA 91302-1984                             Tel Aviv, Israel                                     Orlando, FL 32801-1004


Amber C Robinson                                     (p)DENNIS D KENNEDY                                  Don Karl Juravin
Robinson Law Office, PLLC                            PO BOX 541848                                        15118 Pendio Drive
695 Central Avenue, Ste 1501                         MERRITT ISLAND FL 32954-1848                         Montverde, FL 34756-3606
St. Petersburg, FL 33701-3669


Hal Levenberg                                        Hal E. Hershkowitz                                   James D Ryan, Esq.
Yip Associates                                       Hershkowitz & Kunitzer, P.A.                         Ryan Law Group, PLLC
One Biscayne Tower                                   5039 Central Avenue                                  636 US Highway One
2 S. Biscayne Boulevard, Suite 2690                  St. Petersburg, FL 33710-8240                        Suite 110
Miami, FL 33131-1815                                                                                      North Palm Beach, FL     33408-4611

Naom Ben Zvi                                         Pamela J Henley                                      Robert H Ewald
23 Bar-Cochva                                        343 N. Fern Creek Avenue                             Ewald Enterprises, Inc.
Bnei-Brak Israel                                     Orlando, FL 32803-5439                               12472 Lake Underhill Road
                                                                                                          Suite 312
                                                                                                          Orlando, FL 32828-7144

Shay Zuckerman                                       Zachary Lake
8 Bavli Street                                       26565 West Agoura Road
Tel Aviv, Israel                                     Suite 200-197
                                                     Suite 200-197
                                                     Calabasas, CA 91302-1984



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
                              Case 6:18-bk-06821-KSJ               Doc 457         Filed 03/19/21       Page 5 of 5
Federal Trade Commission                             (d)Federal Trade Commission                          Dennis D Kennedy
600 Pennsylvania Avenue NW                           600 Pennsylvania Avenue NW                           P. O. Box 541848
CC-9528                                              Mail Crop CC-10528                                   Merritt Island, FL 32954
Washington, DC 20580                                 Washington, DC 20580


(d)Dennis D. Kennedy
Post Office Box 541848
Merritt Island, FL 32954




                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).


Natural Vitamins Laboratory Corporation
12815 NW 45th Avenue
Opa Locka, FL 33054-5100




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Consumer Opinion Corp.                            (u)Opinion Corp.                                     (d)American Express National Bank
                                                                                                          c/o Becket and Lee LLP
                                                                                                          PO Box 3001
                                                                                                          Malvern PA 19355-0701


(d)Bella Collina Property Owner’s Associat           (d)Ben-Zvi Law Firm                                  (d)Florida Dept. of Revenue
c/o William C Matthews, Esq.                         23 Bar-Cochva                                        Bankruptcy Unit
Shutts & Bowen LLP                                   Bnei-Brak, Israel                                    P.O. Box 6668
300 S. Orange Avenue, Suite 1600                                                                          Tallahassee, FL 32314-6668
Orlando, FL 32801-3382

(d)Internal Revenue Service                          (d)Mercedes-Benz Financial                           (d)Anna Juravin
Post Office Box 7346                                 PO Box 961                                           15118 Pendio Drive
Philadelphia PA 19101-7346                           Roanoke, TX 76262-0961                               Montverde, FL 34756-3606



(d)Karan Arora                                       End of Label Matrix
12815 NW 45th Avenue                                 Mailable recipients    55
Opa Locka, FL 33054-5100                             Bypassed recipients    10
                                                     Total                  65
